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                         IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF OKLAHOMA

IN RE:
                                                            Case No. 22-10541-SAH
RENTZEL PUMP MANUFACTURING, LP                              (Chapter 11)
                                                Debtor.


  EMERGENCY MOTION FOR ORDER AUTHORIZING INTERIM USE OF CASH
   COLLATERAL AND PROVIDING POST-PETITION LIENS WITH BRIEF IN
        SUPPORT AND NOTICE OF OPPORTUNITY FOR HEARING

         Rentzel Pump Manufacturing, LP, Debtor and Debtor in Possession, by and through its

proposed general reorganization counsel, Gary D. Hammond, of the law firm of Mitchell &

Hammond, An Association Of Professional Entities, respectfully files this Emergency Motion

For Order Authorizing Interim Use Of Cash Collateral And Providing Post-Petition Liens With

Brief In Support And Notice Of Opportunity For Hearing (the “Motion”) for entry of an interim

order on an expedited basis (the “Interim Order”), and following a final hearing to be set by the

Court (the ”Final Hearing”), entry of a final order (the “Final Order”), pursuant to 11 U.S.C. §§

105, 361, 362, and 363, and F. R. Bankr. P. 4001, authorizing Debtor to (a) use cash collateral,

and (b) provide adequate protection to its pre-petition secured lenders (“Secured Creditors”). In

support of this Motion, Debtor represents as follows:

                                           OVERVIEW

         This Court has jurisdiction over this Motion pursuant to 28 U.S.C. § 1334. This is a core

proceeding pursuant to 28 U.S.C. §§ 157(b)(2)(A) and (M). Venue is proper in this district

pursuant to 28 U.S.C. §§ 1408 and 1409. The statutory predicates for the relief sought herein are

sections 105, 361, 362, and 363(b) of the Bankruptcy Code.

         Debtor filed a Chapter 11 Petition (Docket Item 1) on March 25, 2022 (“Petition Date”).

Pursuant to 11 U.S.C. §§ 1107 and 1108, since the Petition Date, Debtor has continued in
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possession of its property and operation of its business as a Debtor in Possession. No motion for

the appointment of a Chapter 11 Trustee has been filed.

                                       BRIEF IN SUPPORT

        Pursuant to 11 U.S.C. § 363(c)(2), Debtor may use cash collateral if each entity that has

an interest in such cash collateral consents or if the Court, after notice and a hearing, authorizes

the use of the cash collateral. Pursuant to 11 U.S.C. § 363(c)(3), the Court must condition

Debtor’s use of cash collateral as is necessary to provide adequate protection of the interest in the

cash collateral claimed by a party. F. R. Bankr. P. 4001(b) and (d) govern the procedure for

consideration of motions to use cash collateral, and both of these subsections provide for

expedited consideration of such motions for cases in which immediate interim relief may be

crucial to the success of a reorganization.

        As of the Petition Date, Debtor does not have unencumbered cash sufficient to fund its

business operations and pay present operating expenses. Specifically, Debtor lacks sufficient

cash to operate Debtor’s business. Therefore, Debtor has an urgent need for the immediate use of

cash collateral pending a final hearing on the Motion. Debtor faces “immediate and irreparable

harm to the estate” absent the emergency consideration of the relief requested in this Motion.

Without authority to use cash collateral, Debtor will not be able to function as a going concern

and will not be able to proceed to consideration of a plan of reorganization. Accordingly,

authority to use cash collateral is necessary to avoid the shutdown of Debtor’s business and will

be in the best interest of Debtor, its estate and creditors.

        Debtor is informed and believes and therefore alleges that Oklahoma State Bank

(“OSB”), and the Internal Revenue Service (“IRS”) (hereinafter collectively referred to as the

“Secured Creditors”) hold validly perfected and enforceable liens on and security interests in,
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among other things, Debtor’s accounts, inventory, equipment, machinery and general

intangibles, and all proceeds thereof (hereinafter the “Collateral”), all as more particularly

described and evidenced by those several security agreements (the “Security Agreements”)

executed by the Debtor on various dates and perfected by various financing statements filed with

the Oklahoma Secretary of State on various dates, respectively, and the various liens filed by the

IRS.

       Debtor’s obligations to the Secured Creditors constitute legal, valid and binding

obligations of the Debtor, enforceable in accordance with the terms of the various loan

documents applicable thereto, including, without limitation, the Security Agreements and the lien

notices filed by the IRS.

       Proceeds from the sale of inventory, collection of accounts and any other sums, cash or

cash equivalents received from any source constitute cash collateral pursuant to 11 U.S.C. §

363(a), which comprise the Cash Collateral of the Secured Creditors. The Secured Creditors are

entitled to adequate protection of their interests in the pre-petition collateral (including Cash

Collateral) and Debtor may not use the Cash Collateral for any purpose without the Secured

Creditors’ consent or upon order of the Court, after appropriate notice and hearing, and

authorizing such use based on finding that the secured party’s position is adequately protected.

Debtor wishes to provide adequate protection to the Secured Creditors to the extent of their

respective claimed interests under 11 U.S.C. § 506 in the Cash Collateral heretofore and

hereafter used.

       Debtor proposes that in consideration for Debtor’s use of the Cash Collateral as provided

herein and pursuant to the budget attached as Exhibit “A” and as adequate protection for any
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diminution in the value of the Secured Creditor’s security interests, Debtor proposes the

following:

       (a) Grant Secured Creditors a validly perfected first priority lien on and security interests

in the Debtor’s post-petition Collateral subject to existing valid, perfected and superior liens in

the Collateral held by other creditors, if any, and the Carve-Out (as defined below). The rights,

liens and interests granted to the Secured Creditors hereunder shall be based on the Secured

Creditors’ relative rights, liens and interests in the Debtor’s Cash Collateral pre-petition. Upon

entry of an Order granting this Motion, the post-petition security interests and liens proposed to

be granted hereunder shall be valid, perfected and enforceable and shall be deemed effective and

automatically perfected as of the Petition Date without the necessity of the Secured Creditors

taking any further action. Secured Creditors may, however, at their respective option, file

continuation statements, financing statements or such documents as they deem necessary to

evidence their respective security interests in the Collateral. Upon request by the Secured

Creditors, Debtor will execute and deliver any and all such documents, or financing statements,

as are necessary to effect and perfect the Secured Creditors’ security interests as set forth in this

paragraph.

       (b) In the event of, and only in the case of Diminution of Value of the Secured Creditors’

interests in the Collateral, grant a super-priority claim that shall have priority in the Debtor’s

bankruptcy case over all priority claims and unsecured claims against the Debtor and its estate,

now existing or hereafter arising, of any kind or nature whatsoever including, without limitation,

administrative expenses of the kinds specified in or ordered pursuant to 11 U.S.C. §§ 105, 326,

328, 330 331, 503(a), 503(b), 506(c), 507(a), 507(b), 546(c),726(b), and 1114 or otherwise. This

super-priority claim shall be subject and subordinate only to the Carve-Out described below and
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not to any other unsecured claim (having administrative priority or otherwise). The Carve-Out

shall include any fees due to the U.S. Trustee pursuant to 28 U.S.C. § 1930 and fees and

expenses incurred by the Debtor’s professionals and approved by the Court in an amount not to

exceed $20,000.00 (the “Carve-Out”). It is the intention of Debtor to expand upon the rights of

the Secured Creditors and to “prime” all administrative expenses except for the Carve-Out

described herein.

       (C) On or before thirty (30) days after the Petition Date, Debtor shall provide to the

Secured Creditors an initial aging of all accounts receivable and accounts payable and a list of all

inventory, plus total current operating expenses and total current collections. This report shall be

updated and provided to the Secured Creditors by the 30th day of each month thereafter (the

“Reports”).

       (D) The Secured Creditors shall, at any time, be permitted to conduct a full inspection of

the personal property and accounts of Debtor by visiting Debtor’s premises to inspect, verify and

photocopy all such records and to inspect, appraise and document the Collateral. Debtor

proposes to grant the Secured Creditors, their agents and employees, a license to enter upon all

such premises for such purposes during its regular, customary and ordinary business hours,

subject to all security restriction imposed by various health, environmental and regulatory

agencies. The Secured Creditors shall also have access, within five (5) business days of any

request, to Debtor and its management, personnel and advisors.

       (f) All Collateral shall be insured to its full value, and Debtor shall otherwise comply

with the terms and conditions of the Secured Creditors. Evidence of insurance listing Secured

Creditors as insured mortgagee/loss payee shall be provided upon request by the Secured

Creditors.
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       (g) If at any time the Debtor fails to properly insure the Collateral, fails to pay any local,

state or federal taxes as they become due, fails to pay fees required by the U.S. Trustee or fails to

comply with any other term of the Motion (“Default”), the Secured Creditors shall give the

Debtor and its attorney written notice that it has thirty (30) days to cure such default after the

mailing or transmission of written notice of such default. If the default is not cured, the Secured

Creditors may seek entry of an order granting them relief from the automatic stay. Upon such

termination, the Secured Creditors shall be authorized to terminate the use of Cash Collateral and

take such action against the Collateral as permitted under its respective loan documents,

including, without limitation, the Security Agreements, and applicable state law.

       (h) Any termination of the automatic stay under this Motion and any Order thereon shall

apply to the above Chapter 11 case or any subsequent dismissal.

       All rights of the Secured Creditors to seek additional adequate protection for Debtor’s use

of Cash Collateral, to file for relief from the automatic stay, to seek dismissal or to assert any

other right or cause of action, or any other matter with respect to the Debtor, whether in this

bankruptcy case, or otherwise, are expressly reserved. The failure or delay by any of the Secured

Creditors to seek relief or otherwise exercise their rights and remedies under this Motion or any

loan documents shall not constitute a waiver of any of the rights of the Secured Creditors.

       This Motion, the Security Agreements, and any documents and instruments required of

Debtor by this Motion are, or when executed and delivered, will be valid, binding and

enforceable in accordance with their respective terms upon entry of an Order approving this

Motion.

       Immediately upon entry by the Court of an Order approving this Motion, the provisions

of the Motion shall be valid and binding upon and inure to the benefit of the Secured Creditors,
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all other creditors of the Debtor, and all other parties in interest. Pursuant to F. R. Bankr. P.

4001(d), a copy of this Motion shall be provided to any committee appointed in this case, or if no

committee has been appointed to the twenty (20) largest unsecured creditors. If no objection is

filed, the terms and conditions of this Motion may be approved without further order and shall be

binding on all parties in interest on a final basis. Accordingly, Debtor respectfully requests the

Court enter an order approving the Motion and for such other and further relief as may be just

and equitable under the circumstances.

       Pursuant to F. R. Bankr. P. 4001, Debtor requests the Court set a preliminary hearing on

the use of Cash Collateral, and that at such preliminary hearing, the Court authorize the

temporary use of Cash Collateral consistent with the attached budget, to avoid immediate and

irreparable harm to the bankruptcy estate pending a final hearing. Pursuant to F. R. Bankr. P.

4001(b)(2) and (c)(2), Debtor also requests the Court set a date for a final hearing that is as soon

as practicable and fix the time and date prior the final hearing for parties to object to the Motion.

       WHEREFORE, PREMISES CONSIDERED, Rentzel Pump Manufacturing, LP requests

the Court enter an order, in substantially the form attached as Exhibit “B”, granting the relief

requested in this Motion, and for such other relief as the Court deems equitable.



                                                Respectfully Submitted,

                                                /s/ Gary D. Hammond
                                                Gary D. Hammond, OBA# 13825
                                                MITCHELL & HAMMOND
                                                An Association of Professional Entities
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                                                PROPOSED ATTORNEY FOR DEBTOR
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                                CERTIFICATE OF SERVICE

        I hereby certify that on March 28, 2022, a true and correct copy of this document was
electronically served using the CM/ECF system:


       Further, I certify that on March 28, 2022, a true and correct copy of this document was
forwarded via U.S. Mail, first class, postage prepaid and properly addressed to the following at
the addresses on Exhibit D.
